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 4
                          UNITED STATES DISTRICT COURT
 5
                        EASTERN DISTRICT OF WASHINGTON
 6
 7
     UNITED STATES OF AMERICA,                      No. 1:16-cr-02079-SAB-1
 8
                                 Plaintiff,
 9
            v.                                      ORDER DENYING MOTION TO
10
     DANIEL WOOLEM,                                 CONTINUE AND GRANTING
11
                                 Defendant.         MOTION TO DISMISS COUNT
12
                                                    FIVE OF THE SUPERSEDING
13
                                                    INDICTMENT
14
15
16          The Court held a hearing in this matter on August 9, 2017 where Defendant
17 was represented by Ricardo Hernandez and the government by Thomas Hanlon.
18 The Court heard Defendant’s Motion to Continue, ECF No. 208, and the
19 government’s Motion for Order of Dismissal of Count 5 of the Superseding
20 Indictment Without Prejudice, ECF No. 209. Defense counsel has since indicated
21 that his potential time conflict has resolved, and there is no need for a continuance.
22 The motion to continue is denied. The trial shall commence as scheduled.
23          Pursuant to Fed. R. Crim. P. 48(a), the government moves to dismiss count
24 five of the superseding indictment. The government stated during the hearing that
25 its motion should be granted in any circumstance. In the interests of justice, the
26 Court grants the motion.
27 //
28 //


        ORDER DENYING MOTION TO CONTINUE AND DENYING . . . ^ 1
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           Accordingly, IT IS HEREBY ORDERED:
 2
           1. Defendant’s Motion to Continue Trial Date, ECF No. 208, is DENIED.
 3
           2. The government’s Motion for Order of Dismissal of Count 5 of the
 4
     Superseding Indictment Without Prejudice, ECF No. 209, is GRANTED. Count
 5
     five is DISMISSED WITHOUT PREJUDICE as to Defendant Daniel Woolem.
 6
           IT IS SO ORDERED. The District Court Executive is hereby directed to
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     file this Order and provide copies to counsel.
 8
           DATED this 11th day of August, 2017.
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14                                                       Stanley A. Bastian
15                                                    United States District Judge
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       ORDER DENYING MOTION TO CONTINUE AND DENYING . . . ^ 2
